Case 1:19-cv-21986-FAM Document 1-2 Entered on FLSD Docket 05/16/2019 Page 1 of 32

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COMPLEX BUSINESS OGURT

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Administrative Order. ‘Yee ET] No [Sr

REMEDIES SQUGHT (cheok all that apply)

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Filing # 87033526 E-Filed 03/27/2019 11:29:29 AM

IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR

MIAMI-DADE COUNTY

DR. JAMES ERIC McDONOUGH,

Plaintiff, GENERAL JURISDICTION
DIVISION

. V5,

Case No.: /¢ _ GRE - OB -0)

DAVID MATA, JOHN MONACO,

CARLOS GARCIA, GARLAND WRIGHT, CIVIL ACTION SUMMONS

individually, and the CITY OF HOMESTEAD,
a political subdivision of the State of Florida,

Defendants.

STATE OF FLORIDA:
To All and Singular Sheriffs of said State:

YOU ARE HEREBY COMMANDED 1o serve this Suramons and a
this action on Defendant:

David Mata

Homestead Police Department
45 NW. 1* Ave,

Homestead, Fl. 33030

copy of the Complaint in

A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
you to file a written response to, the attached complaint with the clerk of this court. A phone call
will not protect you, Your written response, including the case number given above and the
names of the parties, must be filed if you want the court to hear your side of the case. If you do
not file your response on time; you may lose the case, and your wages, money, and property may
thereafter be taken without further warning from the court. There are other legal requirements.

You may want to call an attorney fi ght away. If you do not know an

attorney, you may call an

attomey referral service or a legal aid office (listed in the phone book).

If you choose to file a written response yourself, send the original to the Court, located at the

Miami-Dade County Courthouse, 73 W. Flagler St., Miami, EL33130—Heeteb Peterman) |
required to serve written defenses to the Complaint to ANON SEIEAD, ROLICH DEF

Greenstein, at 9200 S Dadeland Blvd, Suite 308, Miam}, Fl. 33156,

HARVEY RUVIN
CLERK. OF COURT

APR 1.4 2019

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Case 1:19-cv-21986-FAM Document 1-2 Entered on FLSD Docket 05/16/2019 Page 4 of 32

DATE: 4/5/2019

(COURT SEAL)

IMPORTANTE

Usted ha sido demiandado legalmente. Tiene 30 dias, contados a partir del recibo dé esta
notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una
llamada telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe
presentar su respuesta por escrito, incluyendo el numero del caso y los nombres de las partes
interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser
despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo avisé del tribunal.

Existen otros requisites legales. Si lo desea, puede usted consultar a un abogado inmediatamente,
Si no.conoce a un abogado, puede llamar a una de las oficinas de asistencia legal que aparecen
en la guia telefonica.

Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta
ante el tribunal, debera usted enviar por correo o entregar una copia de su respuesta a la persona
denominada. abajo como “Plaintiff” (Demandante o Abogado del Demandante),

IMPORTANT

Des poursuites judiciares ont.ete entreprises contre vous. Vous avez 30 jours consecutifs a partit
de la date de l’assignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe
aupres de ce tribunal. Un simple coup de telephone est insuffisant pour vous proteger. Vous etes
obliges de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et.du.nom
des parties nommees ici, si vous souhaitez que le tribunal entende votre cause. Si vous. ne
deposez pas votre reponse ectite dans le relai requis, vous risquez de perdre la cause ainsi que
votre salaite, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis
ulterieur du tribunal, -

Il y a d’autres obligations juridiques et vous pouvez requerir les services immediats d’tn avocat.
Si vous ne connaissez pas d’avocat, vous pourtiez telephoner a un service de reference d’avocats
ou-a un bureau d’ assistance juridique (figurant a |’ annuaire de telephones).

Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement, en meme
temps que cette formalite, faire parvenir ou expedier une copie de votre reponse ecrite au
“Plaintiff” (Plaignant ou a son avocat) nomme ci-dessous.

Case 1:19-cv-21986-FAM Document 1-2 Entered on FLSD Docket 05/16/2019 Page 5 of 32
Filing # $7033526 EsFiled 03/27/2019 11:29:29 AM

IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR
MIAMLDADE COUNTY

DR. JAMES ERIC McDONOUGH,

Plaindff, GENERAL JURISDICTION
DIVISION
¥§.
Case No: 2079.008886-CA-01

DAVID MATA, JOHN MONACO,

CARLOS GARCIA, GARLAND WRIGHT, CIVIL ACTION SUMMONS
individually, and the CITY OF HOMESTEAD,

a political subdivision of the State of Florida,

iM
Defendants. i yi

STATE OF FLORIDA: ar

To Ail and Singular Sheriffs of said State:

YOU ARE HEREBY COMMANDED to serve this Summons-and a copy of the Complaint in
this action on Defendant:

Carlos Garcia

Homestead Police Department
45 NW. 1*t Ave.

Homestead, FL. 33030

A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
you to file a written response to the attached complaint with the clerk of this court. A phone call
will not protect you. Your written response, including the case number given above and the
names of the parties, must be filed if you want the court to hear your side of the case. If you do
not file your response on time, you may lose the case, and your wages, money, and property may
thereafter be taken without further waming from the court. There are other legal requirements.

You may want to call an attorney sight away. If you do not know an attomey, you may call an
attorney referral service or a legal aid office (listed in the phone book).

If you choose to file a written response yourself, send the ori ginal to the Court, located at the
Miami-Dade County Courthouse, 73 W. Flagler Sp.Mdiami Fl 33130, Each Defendant is

required to serve written defenses to the Complai (HOMBRES POY,
Greenstein, at 9200 § Dadeland Bivd., Suite 308, Miami, FI. 3 .

HARVEY RUVIN
CLERK OF COURT APR 1 e 2019

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Case 1:19-cv-21986-FAM Document 1-2 Entered on FLSD Docket 05/16/2019 Page 6 of 32

DATE: 4/8/2619

(COURT SEAL)

IMPORTANTE

Usted ha sido demandado legalmente. Tiene 30 dias, contados a partir del recibo de esta
notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una
ilamada telefonica no lo protegera, Si usted desea que el iribunal considere su defensa, debe
presentar su respuesta por escrito, incluyendo e] numero del caso y los nombres de las partes
imeresadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser
despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.

Existen otros requisitos legales, Si lo desea, puede usted consultar a un abogado inmediatamente.
Si no conoce aun abogado, puede llamar a una de las oficinas de asistencia legal que aparecen
en la guia telefonica.

Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta
ante el tribunal, debera usted enviar por correo o entregar una copia de su respuesta ala persona
denominada abajo como “Plaintiff” (Demandante o Abogado del Demandante).

MPORTANT

Des poursuites judiciares ont ete entreprises contre vous. Vous avez 30 jours consecutifs a partir
de la date de Vassignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe —
aupres de ce tribunal. Un simple coup de telephone est insuffisant pour vous proteger. Vous etes
obliges de deposer votre reponse eorite, avec mention du numero de dossier ci-dessus et du nom
des parties nommees ici, si vous souhaitez que le tribunal entende votre cause, Si vous ne
deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
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ulterieur du tribunal, .

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Si vous choisissez de deposer vous-meme une reponse ecrite, if vous faudra egalement, en meme
temps que cette formatite, faire parvenir ou expedier une copie de votre reponse ecrite au
“Plaintiff” (Plaignant ou a son avocat} nomme ci-dessous.

Case 1:19-cv-21986-FAM Document 1-2 Entered on FLSD Docket 05/16/2019 Page 7 of 32

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IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR
MIAMI-DADE COUNTY

DR. JAMES ERIC McDONOUGH, ©
Plaintiff, oo GENERAL JURISDICTION

DIVISION
vs. oe
Case No: /F— FPG -CA-0)
DAVID MATA, JOHN MONACO,
CARLOS GARCIA, GARLAND. WRIGHT, CTVIL ACTION SUMMONS
individually, and the CITY OF HOMESTEAD, oe
a political subdivision of the State of Florida, “S 1A
Defendants. . s\ 4h gy

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STATE OF FLORIDA;

To All and Singular Sheriffs of said State:

YOU ARE HEREBY COMMANDED to serve this Summons and a copy of the Complaint in
this action on Defendant: —

Garland Wright

Homestead Police Department
45 NW. 1* Ave.

Homestead, Fl. 33030

A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
you to file a written response to the attached complaint with the clerk of this court. A phone call
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attomey refertal service or a legal aid office (listed in the phone book).

If you choose to file a written response yourself, send the ori ginal to the Court, located at the
Miami-Dade County Courthouse, 73. W. Flagler St., Miami, F1,.33130.-Each Defendant is

required to serve written defenses to the Complaint

Greenstein, at 9200 S Dadeland Bivd., Suite 308, Midi MESWEAD POLICE DEPT.
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HARVEY RUVIN a
CLERK OF COURT... . APR 1g 2019

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Case 1:19-cv-21986-FAM Document 1-2 Entered on FLSD Docket 05/16/2019 Page 8 of 32

4/5/2019
DATE: .

(COURT SEAL).

IMPORTANTE

Usted ha sido demandado legalmente. Tiene 36 dias, contados a partir del recibo de esta
notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una
llamada telefonica no lo protegera, Si usted desea que el tribunal considere su defensa, debe
presentar su respuesta por escrito, inchuyendo ¢l numero del caso y jos nombres de las partes
interesadas. Si.usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser
despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.

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IMPORTANT

Il y a d'autres obligations juridiques et vous pouvez requerir les services immediats d’un avocat.
Si vous ne connaissez pas d’avocat, vous pourriez telephoner a un service de reference d’avocats
ou a un bureau d’assistance juridique (figurant al’annuaire de telephones).

Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement, en meme
temps que cette formalite, faire parvenir ou expedier une copie de votre reponse ecrite au
“Plaintiff” (Plaignant ou a son avocat) nomme ci-dessous.

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Case 1:19-cv-21986-FAM Document 1-2 Entered on FLSD Docket 05/16/2019 Page 9 of 32

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IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR

MIAMI-DADE COUNTY
DR. JAMES ERIC McDONOUGH,
Plaintiff, GENERAL JURISDICTION
DIVISION
¥S.
Case No.) G dif l - CB AL
DAVID MATA, JOHN MONACO,
CARLOS GARCIA, GARLAND WRIGHT, CIVIL ACTION SUMMONS
individually, and the CITY OF HOMESTEAD, co agit
a political subdivision of the State of Florida, her" \ at we
. &
Defendants. \ o a? \e \ 4 uf
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STATE OF FLORIDA: .

To All and Singelar Sheriffs of said State:

¥OU ARE HEREBY COMMANDED to serve this Summons and 4 copy of the Complaint in
this action on Defendant:

City of Homestead
100 Civic Court
Homestead, Fi. 33030

A lawsuit has been filed against you. You have 30 calendar days after this summons is served on
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HARVEY RUVIN
CLERK OF COURT

Case 1:19-cv-21986-FAM Document 1-2 Entered on FLSD Docket 05/16/2019 Page 10 of 32

DATE: 4/6/2013

(COURT SEAL)

IMPORTANTE

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Si vous ne connaissez pas d’avocat, vous pourtiez telephoner a un service de reference d’avocats —
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Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement, en meme
temps que cette formalite, faire parvenir ou expedier une copie de votre reponse ecrite au
“Plaintiff” (Plaignant ou a son avocat} nomme ci-dessous.

Case 1:19-cv-21986-FAM Document 1-2 Entered on FLSD Docket 05/16/2019 Page 11 of 32

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Filing # 86816654 E-Filed 03/22/2019 11:36:36 AM

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IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR

MIAMI-DADE COUNTY
JAMES ERIC McDONOUGH,
Plaintiff, GENERAL JURISDICTION
DIVISION
vs.
Case No.:
DAVID MATA, JOHN MONACO,
CARLOS GARCIA, GARLAND WRIGHT,
individually, and the CITY OF HOMESTEAD,
a political subdivision of the State of Florida,
Defendants.
/
COMPLAINT
Jurisdiction and Venue
1. This is an action for damages in excess of $15,000.00, exclusive of costs and

interest, and a civil rights claim pursuant to 42 U.S.C. § 1983 and the First and Fourth
Amendments to the United States Constitution.

2. Venue properly lies in Miami -Dade County as the incident in question occurred in
the city of Homestead, Florida.

3. All conditions precedent to the filing of this action pursuant to §768.26 Flonda
Statutes have been met.

Parties

4, JAMES ERIC McDONOUGH (hereafter “McDONOUGH”) was at all material
titnes a resident of Miami-Dade County, Florida and a citizen of the United States.

5, Defendant CITY OF HOMESTEAD (hereafter “HOMESTEAD”) is a runicipal
corporation and political subdivision of the State of Florida, HOMESTEAD’s goveming body is

its City Council in which is vested final policy-makiag authority for the city.

Case 1:19-cv-21986-FAM Document 1-2 Entered on FLSD Docket 05/16/2019 Page 12 of 32

&

6. Defendant GARLAND WRIGHT was at all material times a police officer with the
City of Homestead acting under color of state law and is being sued in his individnal capacity.

7. Defendant JOHN MONACO was at all material times a police officer with the City
of Homestead acting under color of state law and is being sued in his individual capacity,

8. Defendant DAVID MATA was at all material times a police officer with the City

of Homestead acting under color of state law and is being sued in his individual capacity.

9, Defendant CARLOS GARCIA was at all material times a police officer with the
City of Homestead acting under color of state law and is being sued in his individual capacity.

Statement of Facts
July 2016 Remeval from Council Meeting

10. The Homestead City Council meets once 2 month in the Council Chambers at
Homestead City Hali to conduct city business. A portion of each meeting is set aside for public
comment during which members of the public are invited to speak directly to the Mayor and City
Council on any matters'‘of public interest about which the member wishes to speak.

11. Members of the public are invited to speak for three minutes during the public
comment section of the meetings.

12. McDONOUGH would come to City Council meetings to speak on matters that he
felt were of importance to HOMESTEAD.

13. On July 27, 2016, McDONOUGH once again attended and spoke during public-
comment at that date’s City Council meeting. Posted at the top of the agenda for that meeting was
a Decorum Policy enacted by the Homestead City Council, setting forth procedures regarding the
conduct of persons who appear before that body. That posting stated in its entirety the following:

DECORUM POLICY:
Any person making impertinent or slanderous remarks, or who becomes boisterous

while addressing the council, shal) be barred from further audience before the
council by the Mayor, unless permission to continue or again address the council

Case 1:19-cv-21986-FAM Document 1-2 Entered on FLSD Docket 05/16/2019 Page 13 of 32

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be granted by the majority vote of the council members present. No clapping,

applauding, heckling or verbal outbursts in support or opposition to a speaker or his

or her remarks shall be permitted. No signs or placards which may harm or obstruct

the view of others shall be allowed in the council chambers. Persons exiting the

council chambers shall do so quietly.

14. That Policy (hereafter the July 27" Decorum Policy”) contained two noteworthy
omissions:

(a) While asserting that “making impertinent...remarks” or “becom[ing] boisterous”
constituted grounds for “the Mayor” to “bar[...]” a speaker “from further audience before the
council,” it provided no definition of “impertinent remarks” or “boisterous” behavior; and

(b) It failed to set forth any procedurefs] as to when, how or on whut basis a “barred”
speaker could seck to obtain a “majority vote of the council members present” granting him
“permission to... again address the council” at some time in the future.

15. The July 27" Decorum Policy was the same Policy that was posted at the top of the
agenda for every Homestead City Council meeting held during the year 2016, except for the
November, 2016 meeting.

16. Four months earlier, on April 20, 2016, the City Council had approved a resolution
“enacting revised comprehensive council meeting and agenda procedures” (Resolution No.
R2016-04-42) (hereafter “the revised Resolution”) to “supersede and replace all previous
Resolutions regarding Council meeting procedures.” Under a section headed “City Council
Meetings,” the revised Resolution deleted the language contained in the July 27" Decorum Policy
and, in its stead, set forth the following:

Rules of Decorum:

In order to ensure that meetings of the City Council may be conducted in a manner

that allows the business of the City to be effectively administered the following

tules of decorum shall be followed at all meetings of the City Council:

(a) No individual shali make slanderous or unduly repetitive remarks or engage in

any other form of behavior that disrupts or impedes the orderly conduct of the
meeting as determined by the Mayor and or Sergeant at Arms.

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(b) No clapping applauding heckling or verbal outbursts in support or opposition to
a speaker or his or her remarks shall be permitted

(c) No signs or placards shall be permitted in the Council Chambers

(d) Individuals addressing the Mayor and Council must first be recognized by the
Mayor and must do so utilizing the designated podium in the Council Chamber No
more than one person may address the Council at a time unless specificaily
permitted by the Mayor. Only those individuals recognized by the Mayor may stand

at the podium
(2) No person may stand in or on the isles the well or the dais, Individuals waiting

to be recognized shall wait in an area designated by the City

(f) Persons exiting the council chambers shall do so quietly

(g) Any individual determined to have violated the Rules of Decorum as determined

by the Mayor or Sergeant at Arms may be required to leave the Council Chambers.

17.  ‘Therevised Resolution changed the rules of decorum to be followed at City Council
meetings in the following relevant ways:

{a) it eliminated “making impertinent ...remarks’” and “becomf[ing] boisterous” as
grounds for barring a speaker from addressing the City Council; and.

(b) it eliminated the requirement that for a barred speaker “to continue or again address
the council” the speaker must obtain “permission...granted by the majority vote of the council
members present.”

18. The new rules of decorum set out in the revised Resolution were not posted at the
top of the agenda for any City Council meeting until November 16, 2016, when they were posted
for the first tine under the heading “Decorum Policy.” The July 27° decorum policy was again
posted on the December, 2016 meeting agenda until it was finally replaced on the January 2017
meeting agenda.

19. On July 27, 2016, MCDONOUGH rose and began to speak, during the public
comment section, about issues involving the Homestead Police Department (hereafter “HPD”).

20. During that time he spoke of the accountability of HPD. He: complained that
Officer Murguido falsified a police report concerning an individual named Rosemary Brackett;

supported bodycams; complained that the Chief of Police had falsified destruction logs;

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complained that the Chief had retaliated against a citizen for saying the Chief had committed
misconduct in office; complained that there was rampant nepotism within HPD, and finally stated
to Councilman Maldonado that if he had something to say to him (McDONOUGH) that he should
say it in public and not behind his back.

21. After approximately two and a half minutes had passed, Sergeant GARLAND
WRIGHT approached McDONOUGH, stopped his comments, prevented him from speaking
further and removed him involuntarily from the council chambers.

22. WRIGHT refused to advise McDONGUGH of the reason for being removed.

23. Once outside the Chambers, in a hallway and walking away, MCDONOUGH stated
he would sue WRIGHT.

24,  iInresponse, WRIGHT chased down McDONOUGH and blocked his egress from

the building.
25. While blocking McDONOUGH?’s egress, WRIGHT requested MCDONOUGH to
not speak as he had. McDONOUGH then requested that WRIGHT not violate his First
Amendment rights, to which WRIGHT responded by threatening to violate MecDONOUGH’s First
Amendment right if McDONOUGH wanted him to,

26. During his comments before the City Council on July 27, 2016, and upon being
escorted from the chambers, all of which were captured on video, McDONOUGH did not disrupt
or impede the orderly conduct of the meeting or engage in any behavior that could be deemed
criminal or in any way support a determination of probable cause to believe, or even reasonable
suspicion, that he had committed a crime. Further, McDONOUGH’s comments were not

impertinent, slanderous, boisterous or unduly repetitive.

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27. Upon being escorted from the City Hall building neither WRIGHT nor any other
HPD Officer advised McDONOUGH that he was not allowed to return to City Hall or to speak in
front of the City Council.

August 2016 Trespass Warning and Arrest

28. On August 23, 2016, McDONOUGH published an article critical of WRIGHT’s
actions against him at the July 2016 meeting and outlined WRIGHT’s constitutional violations.

. 29, On August 24, 2016, before the council meeting, WRIGHT along with City
Manager George Gretsas, Mayor Jeff Porter, HPD Chief Alexander Rolle, HPD Major Scott
Kennedy, City Attomey Maithew Pearl, and unnamed others met in the City Manager’s office to
discuss, among other things, how to prevent McDONOUGH from speaking at that evening’s
meeting. They decided that the July 27" decorum policy would be enforced, not the revised
Resolution, and that WRIGHT and/or other HPD officers would “trespass” McDONOUGH and
prohibit him from entering City Hall and/or speaking at the Council meeting.

30. On August 24, 2016 McDONOUGH returned to City Hall to speak at the City
Council meeting, Immediately upon entering City Hall, McDONOUGH was met by WRIGHT,
Detective DAVID MATA and Officer JOHN MONACO and was escorted out of the building.

31. WRIGHT told McDONOUGH that he was being “trespassed” because of his
comments and behavior at the tast meeting and that he had to leave the premises of City Hall until
he received permission to come back,

32, When McDONOUGH asked how he could get back in, he was told to write a letter.

33. McDONOUGH obeyed WRIGHT’s order and began walking on the sidewalk of
City Hall towards his vehicle when WRIGHT yelled that the trespass included the parking lot too,

34, While continuing to walk away and without stopping, MCDONOUGH raised his

left middle finger in the air and said “I’m leaving buddy, bye-bye.”

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35. Upon observing MeDONOUGH’s actions, WRIGHT and MONACO followed
him. WRIGHT instructed McDONOUGH to stop and tun around, McDONOUGH was still
walking away ftom City Hall when WRIGHT ordered him to stop. MONACO placed
McDONOUGH in handcuffs while advising that he was being arrested for disorderly conduct.

36. There were at least three police reports written on the incident: CARLOS GARCIA
wrote that there were four female pedestrians in the parking lot and others entering the City Hall

building who stop to observe McDONOUGH’s breach of the peace; MONACO wrote that at the
time of McDONOUGH’s actions there was a woman with three children going into City Hall,
several people on the steps and approximately ten people in the parking lot; WRIGHT wrote that
there were several citizens walking into the building and several citizens in the parking lot area,
ali who stopped and witnessed McDONOUGH’s actions.

37. This entire episode was captured on video, At the time there was no one entering
City Hall. There were two women leaving City Hail who did not see what McDONOGUGH had
done or react to what he said, nor were there any citizens in the parking lot area who noticed
McDONOUGH. it was only the arrest of MCDONOUGH by HPD that drew anyone’s attention.

38. The only people that gathered to watch MecDONOUGH and the arrest were the
approximately twenty (20) HPD Officers who were at City Hail.

39. At no time did McDONOUGH engage in any action that could be considered a

breach of the peace.

40, Based upon information provided by WRIGHT and MONACO, McDONOUGH
was then placed under arrest for trespass after warning by GARCIA.

41, Atno time did McDONOUGH refuse to leave the premises of City Hall once

directed to do so by WRIGHT, The only reason McDDONOUGH was prevented from leaving the

City Hall premises was due to his arrest for disorderly conduct.

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42, MONACO excessively tightened the handcuffs on McDONOUGH and repeatedly
twisted them deliberately causing pain to McDONOUGH even though MCDONOUGH was fully
cooperative. MONACO also refused to loosen the handcuffs after requests and complaints from
MeDONOUGH that the handcuffs were cutting off circulation in his left hand.

43. After discovery was conducted in the criminal case, the charges of disorderly
conduct and trespass after warning were eventually dismissed by the Miami-Dade State Attorney.
September 2016 Arrest

44, While awaiting trial on the disorderly conduct and trespass charges,

- McDONOUGH posted comments on a website known as LEO AFFAIRS,

45, Inthe posts MCDONOUGH made comments about MONACO who was involved
and had been a witness to the incident on August 24, 2015.

46, In the posts, McDONOUGH wrote about MONACO’s comments at a previous
Council meeting concerning officers wearing body cameras; he warned that any retaliation toward
him would be dealt with swiftly, harshly and lawfully; he called MONACO a liar and a coward;
he commented about posting MONACO’s home address and he posted the YouTube video from
a Council meeting when MONACO provided his home address.

47, MONACO reported this to HPD Internal affairs where the police attempted several
undercover calls to entrap MeDONOUGH into revealing MONACO’s address which they
believed to be a violation of Florida Statutes. McDONOUGH refused to reveal the address but did
refer the undercover officer to a public YouTube posting.

48. Based the information provided by MONACO, McDONOUGH was arrested on
September 1, 2016 for cyberstalking and tampering with a witness by HPD Detective MATA.

49. The Miami-Dade State Attorney dismissed both charges finding that

McDONOUGH never threatened to take some action if the disarderly conduct/trespass charges

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were pursued. Additionally, there was no cyberstalking that would cause any emotional distress
or that served no legitimate purpose.
COUNTS
Count I - Violation of the First, Fourth and Fourteenth Amendments to the United States
Constitution, Pursuant to 42 U.S.C, §1983
(Against Defendant GARLAND WRIGHE, ue for Suppression of Speech July 27,

50. Plaintiff McDONOUGH realleges and incorporates herein by reference paragraphs.
1-49,

51. ‘This cause of action is brought by MCDONOUGH against defendant GARLAND
WRIGHT. in his individual capacity for deprivation of McD)ONOUGH’s constitutional rights
within the meaning of 42 U.S.C. §1983.

52, The constitutional rights at issue in this count are:

(a) McDONOUGH’s rights under the First Amendment to speak on matters of public
interest and petition the government for redress of grievances, and to engage in those
constitutionally protected activities during public comment at Homestead City Council meetings
without fear of punishment or retaliation against him by any government official for his doing so;
and

(6) McDONOUGH'S rights under the Fourth Amendment to be free from
unreasonable seizures, and specifically to be free from physical restraint and detention imposed in
response to his exercise of First amendment rights, without any probable cause to believe, or even
reasonable suspicion, that he had committed a crime.

53. |McDONQUGH, in speaking on matters of public interest during public comment
at the Homestead City Council meeting on July 27, 2016, without disrupting or impeding the
orderly conduct of the meeting, was exercising his rights under the First Amendment and was not

engaging in any behavior or speech that could be considered impertinent, slanderous, boisterous

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or unduly repetitive nor deemed criminal or in any way support a determination of probable cause
to believe, or even. reasonable suspicion that, he was committing a crime.

54, In direct response to, and to punish and retaltate against, McDONOUGH for his
exercise of his First Amendment rights during the July 27, 2016, City Couneil meeting, Defendant
WRIGHT, acting under color of state law, applied the July 27" Decorum Policy, instead of the
revised Resolution, to McDONOUGH, so as to physically restrain and detain MCDONOUGH and
remove him from the Council Chambers and City Hall, in violation of McDONOUGH’s Fourth
Amendment rights to be free from unreasonable seizures, and

53. As a direct and proximaie result of defendant GARLAND WRIGHT"s actions,
McDONOUGH suffered damages from the denial of his constitutional rights under the First,
Fourth and Fourteenth Amendments to the United States Constitution and is accordingly entitled
to relief under 42 U.S.C. $1983.

WHEREFORE, MCDONOUGH is entitled to:

A. Compensatory damages for the physical and mental injuries suffered;
B. Punitive damapes;
C. Reasonable expenses incurred in the litigation, including reasonable attorney
and expert fees, pursuant to 42 U.S.C, §1988; and
D. Any other remedy the Court deems appropriate.
Count II — Violation of the First and Fourteenth Amendments to the United States
Constitution, Pursuant to 42 U.S.C. $1983
(Against HOMESTEAD for enactment and implementation of Folicy that Suppresses and
Imposes a Prior Restraint on Speech)

56. Plaintiff MecDONOUGH :realleges and incorporates herein by reference paragraphs

1-49,

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57. This cause of action is brought by McDONOUGH against Defendant City of
HOMESTEAD for deprivation of MeDONOUGH’s constitutional rights within the meaning of 42
U.S.C. §1983.

58. The constitutional rights at issue in this count are McDONOUGH’s Fisst
Amendment zights to speak on matters of public interest and petition the government for redress
of grievances, and to engage in those constitutionally protected activities during public comment
at Homestead City Council meetings, without having to meet undefined, vagus behavioral criteria,
and without being subjected to prior restraint.

59. The Homestead City Council, acting under color of state law, enacted the July 27",
2016 Decorum Policy at some point in the past, and on or about July 27, 2016, posted that Policy,
not the revised Resolution, at the top of the agenda of that date’s City Council meeting. In so doing,
the City Council wes acting pursuant to decisions, customs and policies of defendant
HOMESTEAD and as its final policy-making authority.

60. The July 27" Decorum Policy, on its face, violates the First Amendment rights of

any speaker or prospective speaker before the Homestead City Council by:

(a) expressly conditioning the exercise of those rights on the speaker meeting two

behavioral criteria -- (i) not “making impertinent . . . remarks,” and (ii} not “becomf[ing]

' boisterous” -- that are not defined in the Policy and are inherently vague; and
(b) immediately and prospectively “barr[ing]” any speaker determined by the Mayor
to have violated the Policy “from further audience before the council” unless the speaker obtains
a “majority yote of the council members present” granting him “permission to .. . again address
the council” at some time in the future -- a provision that, by authorizing the City Council to deny
access to it before the expression occurs, constitutes a prior restraint on the exercise of First

Amendment tights,

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61. The enactment and posting of the July 27° Decorum Policy by and through
defendant HOMESTEAD’s final policy-making authority, ie., its City Council, constituted
deliberate indifference to McDONOUGH’s Fist Amendment rights.

62. Notwithstanding that the July 27" Decorum Policy had been “supersede[d] and
replace[d]” by the revised Resolution enacted by the City Council three months earlier on April
20, 2106, the July 27th Decorum Policy was applied to McDONOUGH on July 27, 2016 and/or
August 24, 2016, thereby causing McDONOUGH to be placed under an open-ended trespass
order, which, in conjunction with the wording of the July 27th Decorum Policy, prospectively
barred McDONOUGH from reappearing and speaking at any Homestead City Council meeting at
any time in the future,

63. The July 27" Decorum Policy, which, by operation of the express terms of that
Policy, had the effect of denying McDONOUGH his rights of freedom to speak on matters of
public interest and to petition for redress of grievances under the First Amendment when it was:

(a} determined that McDONOUGH had violated the Policy by having “mafde]
impertinent ... remarks” and/or having “becomJe] boisterous,” when those two behavioral criteria
are not defined in the Policy and are inherently vague; and

(b) McDONOUGH was prospectively barred “from further audience before the
council” without advance “permission” from the City Council to reappear before it at some time
in the future, which ~- because the City Council could deny MeDONOUGH that advance
permission -- subjected McDONOUGH to prior restraint of exercise of First Amendment rights.

64. The enactment and posting of the July 27" Decorum Policy, by and through
defendant HOMESTEAD’ final policy-making authority, ie., its City Council, was the primary
moving force behind the application to McDONOUGH of the July 27 Decorum Policy to deprive

McDONOUGH of his First Amendment rights and his subsequent trespass from City Hall.

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65,  Asadirect and proximate result of defendant HOMESTEAD’s decisions, customs
and policies, MCDONOUGH suffered damages from the denial of his constitutional nights under
the First and Fourteenth Amendments to the United States Constitution and is accordingly entitled
to relief under 42 U.S.C, §1983.

WHEREFORE, McDONOUGH is entitled to:

A. Compensatory damages fot the physical and mental injuries suffered.
B. Reasonable expenses incusted in the litigation, including reasonable attorney
and expert fees, pursuant to 42 U.S.C. §1988; and
C. Any other remedy the Court deems appropriate.
Count III - Violation of the Fifth and Fourteenth Amendments to the United States

Constitution, Pursuant to 42 U.S.C, §1983
(Against HOMESTEAD for violations of Due Process)

66. Plaintiff McDONOUGH realleges and incorporates herein by reference paragraphs

1-49.

67. This cause of action is brought by McDONOUGH against Defendant City of
HOMESTEAD for deprivation of McDONOUGH's constitutional rights within the meaning of 42
US.C. §1983.

68. The constitutional rights at issue in this count are McDONOUGH?’s Fifth
Amendment rights not to be deprived of his liberty interest in appearing before the Homestead
City Council meetings without being accorded due process of law.

69. The Homestead City Council, acting under color of state law, having enacted the
July 27" Decorum Policy at some point in the past, posted that Policy, not the revised Resolution,
at the top of the agenda for the July 27, 2016 meeting of the City Council, notwithstanding that it
had been “supersede[d] and replacefd]” by the revised Resolution enacted by the City Council

three months earlier, on April 20, 2106. In so doing, the City Council was acting pursuant to

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decisions, customs and policies of defendant HOMESTEAD and as its final policy-making
authority.

70. The July 27" Decorum Policy, on its face, violates the Fiflh Amendment due
process right of any speaker or prospective speaker to appear before the Homestead City Council
by authorizing the Mayor to determine that a speaker should be immediately and prospectively
barred “from further audience before the [City CJouncil” without providing any process: (i) as to
how to challenge the Mayor’s determination; and/or (ii) as to when, how or on what basis a
prospectively barred speaker can seek to obtain “the majority vote of the council members present”
granting him “permission to . .. again address the council” at some time in the future.

71, The enactment and posting of the July 27" Decorum Policy by and through
defendant HOMESTEAD’s final policy-making authority, ie., its City Council, constituted
deliberate indifference to McDONGUGH’s due process rights under the Fifth Amendment.

72. Notwithstanding that the July 27" Decorum Policy had been “supersede[d] and
replace[d]” by the revised Resolution enacted by the City Council three months earlier on April
20, 2106, the July 27th Decorum Policy was applied to MCDONOUGH on July 27, 2016 and/or
August 24, 2016, thereby causing McDONOUGH to be placed under an open-ended trespass
order, which, in conjunction with the wording of the July 27th Decorum Policy, prospectively
barred McDONOUGH fiom reappearing and speaking at any Homestead City Council meeting at
any time in the future without any avenue of recourse,

73. The enactment and posting of the July 27" Decorum Policy, by and through
Defendant HOMESTEAD’s final policy-making authority, ie., its City Council, was the primary
moving force behind the application to McDONOUGH of the July 27" Decorum Policy to deprive

McDONOUGH of his rights under the Fifth Amendment.

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74.  Asadirect and proximate result of Defendant HOMESTEAD’ decisions, customs
and policies, MCDONOUGH suffered damages from the denial of his constitutional rights under
the Fifth and Fourteenth Amendments to the United States Constitution and is accordingly entitled
to relief under 42 U.S.C. §1983.

WHEREFORE, McDONOUGH is entitled to:

A. Compensatory damages for the physical and mental injuries suffered.

B,. Reasonable expenses incurred in the litigation, including reasonable attorney
and expert fee, pursuant to 42 U.S.C. §1988; and

€. Any other remedy the Court deems appropriate.

Count IV- False Imprisonment
(State Tort against Defendant HOMESTEAD for actions on July 27, 2016)

75, Plaintiff McDONOUGH realleges and incorporates herein by reference paragraphs
1-49.

76. This is a cause of action for common law false imprisonment, with damages in
excess of fifteen thousand dollars, exclusive of costs and interest.

77. | HOMESTEAD is responsible for the actions of its police officers employed by the
HPD, while those officers are engaged within the course and scope of their employment.

78. On July, 2016, GARLAND WRIGHT and other HPD officers, while employed by
defendant HOMESTEAD and acting in the course and scope of their duties, caused
McDONOUGH to be physically restrained and detained, by removing him from the Council

Chambers and City Hall,
79. McDONOUGH did not consent to physical restraint and detention by HPD officers,

and their actions in doing so were taken against his will.

80. Theactions of HPD officers in physically restraining and detaining MCDONOUGH

were unlawful and unreasonable in that those actions were taken:

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(a) without probable cause, or even reasonable suspicion, to believe thai
McDONGUGH had committed a crime;

(b) without a warrant, or any other lawfully issued process;

(c) even though the officers knew or had reason to know that McDONOQUGH had not
committed any crime;

(d} even though the officers knew McDONOUGH?’s comments were not impertinent,
slanderous, boisterous or unduly repetitive.

81. As a direct and proximate result of the actions of officers of the HPD, while
employed by HOMESTEAD and acting in the course and scope of their duties, McDONOUGH
suffered both physical and mental injuries and is entitled to relief.

WHEREFORE, McDONOUGH is entitled to:

A. Compensatory damages for the physical and mental injuries he suffered:
B. Costs of this action; and
C. Any other remedy the Court deems appropriate.
Count V - Violation of the First, Fourth and Fourteenth Amendments to the United States
Constitution, Pursuant to 42 U.5,C, §1983
(Against Defendant GARLAND WRIGHT, individually, for Suppression of Speech on
August 24, 2016)

82. Plaintiff McDONOUGH realleges and incorporates herein by reference paragraphs
1-49,

83. This cause of action is brought by McDONOUGH against defendant GARLAND
WRIGHT in his individual capacity for deprivation of McDONOUGH’s constitutional rights
within the meaning of 42 U.S.C, §1983.

84. The constitutional rights at issue in this count are:

(a) McDONOUGH’s rights under the First Amendment to speak on matters of public

interest and petition the goverment for redress of grievances, and to engage in those

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constitutionally protected activities during public comment at Homestead City Council meetings
without fear of punishment or retaliation against him by any government official for his doing so;
and

(b} McDONOUGH!s rights under the Fourth Amendment to be free from unreasonable
seizures, and specifically to be free from physical restraint and detention imposed in response to
his exercise of First amendment rights, without any probable cause to believe, or even reasonable
suspicion, that he had committed a crime.

85. McDONOUGH, in speaking on matters of public interest during public comment
at the Homestead City Council meeting on July 27, 2016, without disrupting or impeding the
orderly conduct of the meeting, was exercising his rights under the First Amendment and was not
engaging in any behavior or speech that could be considered impertinent, slanderous, boisterous
or unduly repetitive nor deemed criminal or in any way support a determination of probable cause
to believe, or even reasonable suspicion that, he was committing a crime.

&6. In direct response to, and to punish and retaliate against, MCDONOUGH for his
exercise of his First Amendment rights during the July 27, 2016, City Council meeting and/or for
iater publishing an article critical of WRIGHT, Defendant WRIGHT, acting under color of state
law, applied the July 27" Decorum Policy, not the revised Resolution, to McDONOUGH so as to
prevent McDONOUGH ffom speaking before the City Council on August 24, 2016 and to
eventually issue an open-ended trespass order, which, along with the operation of the express terms
of the July 27th Decorum Policy, barred MCDONOUGH from reappearing at any Homestead City
Council meeting in the future.

87. Asa direct and proximate result of defendant GARLAND WRIGHT’s actions,

McDONOUGH suffered damages from the denial of his constitutional rights under the First,

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Fourth and Fourteenth Amendments to the United States Constitution and is accordingly entitled
to relief under 42 U.S.C. §1983,
WHEREFORE, MCDONOUGH is entitled to:

A, Compensatory damages for the physical and mental injuries suffered;

B. Punitive damages;

C. Reasonable expenses incurred in the litigation, including reasonable attomey
and expert fees, pursuant to 42 U.S.C. §1988; and

Db. Any other remedy the Court deems appropriate.

Count VI- False Arrest
(State Tort against defendant HOMESTEAD for actions on August 24, 2016)

88. Plaintiff MCDONOUGH realleges and incorporates herein by reference paragraphs
1-49.

89. On or about August 24, 2016, while acting in the course of their duties as police
officers employed by HPD, Officers WRIGHT, MONACO, GARCIA and others, arrested
McDONOUGH for disorderly conduct and trespass.

90. HOMESTEAD is responsible for the actions of its police officers employed by the
HPD, while those officers are engaged within the course and scope of theit employment.

91. The officers physically deprived McDONOUGH of his freedom and liberty both at
the scene of the arrest and continuing at the Miami-Dade County Jail.

92, MeDONOUGH did not consent to the arrest and deprivation of liberty by HPD
officers and said actions were against the will of McDONOUGH.

93, The restraint and arrest of MCDONOUGH by Officers WRIGHT, MONACO,
GARCIA and other officers of the Homestead Police Department was unlawful and unreasonable

as it was not based on probable cause or based upon lawfully issned process and was without a

valid warrant,

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94, As a direct and proximate result of HPD’s actions MecDONOUGH suffered both

physical and mental injuries and is entitled to relief.
Wherefore the Plaintiff is entitled to:
A. Compensatory damages for the physical and mental injuries suffered.
B. Costs of this action.
C. Any other remedy the Court deems appropriate,

Count VIT- False Arrest Violation of the Fourth and Fourteenth Amendments to the United

States Constitution, Pursuant to 42 U.S.C. §1983
(Against Defendants WRIGHT, MONACO and GARCIA, individually, for false arrest on
August 24, 2016)

95. Plaintiff MCDONOUGH realleges and incorporates herein by reference paragraphs
1-49,

96. On or about August 24, 2016, while acting under the color of state law as police
officers employed by HPD, Defendants WRIGHT, MONACO and GARCIA arrested
McDONOUGH for disorderly conduct and trespass.

57. Defendants WRIGHT, MONACO and GARCIA physically deprived
McDONOUGH of his freedom and liberty both at the scene of the arrest and continuing at the
Miami-Dade County Jail.

98. McDONOUGH did not consent to the arrest and deprivation of liberty by
Defendants WRIGHT, MONACO and GARCIA and said actions were against the will of
McDONOUGH.

99. The restraint, search and arrest of McDONOUGH by Defendants WRIGHT,
MONACO and GARCIA was unlawful and unreasonable as it was not based on probable cause or
based upon lawfully issued process and was without a valid warrant.

100. The restraint, search and arrest of McDONOUGH by Defendants WRIGHT,

MONACO and GARCIA deprived McDONGUGH of his constitutional rights under the Fourth

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and Fourteenth Amendments to the United States Constitution to be free from unreasonable
searches and seizures.

101. As adirect and proximate result of the violation of McDONOUGH’s constitutional
rights by Defendants WRIGHT, MONACO and GARCIA McDONOUGH suffered both physical
and mental injuries and is entitled to relief under 42 U.S.C, §1983.

Wherefore the Plaintiff is entitled to:

A, Compensstory damages for the physical and mental injuries suffered.

B. Punitive damages.

C. Reasonable expenses incurred in the litigation, including reasonable attorney
and expert fees, pursuant to 42 U.S.C. §1988.

D. Any other remedy the Court deems appropriate.

Count VIIE- False Arrest
(State Tort against defendant HOMESTEAD for actions on September 1, 2016)

102. Plaintiff McDONOUGH realleges and incorporates herein by reference paragraphs
1-49,

103, On or about September 1, 2016, while acting in the course of their duties as police
officers employed by HPD, Detective MATA and others, arrested McDONOUGH for
cyberstalking and tampering with a witness.

104, HOMESTEAD is responsible for the actions of its police officers employed by the
HPD, while those officers are engaged within the course and scope of their employment.

- 105. The officers physically deprived McDONOUGH of his freedom and liberty both at
the scene of the arrest and continuing at the Miami-Dade County Jail.

106. McDONOUGH did not consent to the arrest and deprivation of liberty by HPD

officers and said actions were against the will of McDONOUGH.

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107. The restraint and arrest of MCDONOUGH by Detective MATA and the Homestead
Police Department was unlawful and unreasonable as it was not based on probable cause or based
upon lawfully issued process and was without a valid warrant.

108. As a direct and proximate result of HPD’s actions MCDONOUGH suffered both
physical and menial injuries and is entitled to relief.

Wherefore the Plaintiff is entitled to:
4. Compensatory damages for the physical and mental injuries suffered.
B. Costs of this action.
C. Any other remedy the Court deems appropriate.
Count [X- Violation of the Fourth and Fourteenth Amendments to the United States

Constitution, Pursuant te 42 U.S.C. §1983

{Against Defendants MATTA and MONACO, individually, for false arrest on September
1, 2016}

109. Plaintiff McDONOUGH realleges and incorporates herein by reference paragraphs
1-49,

110. On or about September 1, 2016, while acting under the color of state Jaw as police
officers employed by HOMESTEAD, Defendants MATA and MONACO caused MecDONOUGH
to be arrested for cyberstalking and tampering with a witness.

111. Defendants MATA and MONACO caused McDONOUGH to be physically
deprived of his freedom and liberty both at the scene of the arrest and continuing at the Miami-
Dade County Jail,

112. McDONOUGH did not consent to the arrest and deprivation of Hberty by
Defendants MATA and MONACO and said actions were against the will of McDONOUGH.

113. The restraint, search and arrest of McDONOUGH by Defendants MATA and
MONACO was unlawful and unreasonable as it was not based on probable cause or based upon

lawfully issued process and was without a valid warrant.

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114, The restraint, search and arrest of MCDONOUGH by Defendants MATA and
MONACO deprived McDONOUGH of his constitutional rights under the Fourth and Fourteenth
Amendments to the United States Constitution to be free from unreasonable searches and seizures,

115. Asadirect and proximate result of the violation of McDONOUGH’s constitutional
rights by Defendants MATA and MONACO, McDONOUGH suffered both physical and mental
injuries and is entitled to relief under 42 U.S.C. §1983.

Wherefore the Plaintiff is entitled to:
A, Compensatory damages for the physical and mental injuries suffered,
B. Punitive damages.
C. Reasonable expenses incurred in the litigation, including reasonable attorney
and expert fees, pursuant to 42 U.S.C, §1988.
D. Any other remedy the Court deems appropriate.
Demand for Jary Trial

Plaintiff McDONOUGH hereby demands a trial by jury on all issues triable as a matter of
right.

Dated: March 22, 2019

Respectfully submitted,

Aian J, Greenstein, P.A.

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